Case 9:19-mc-80024-DMM Document 25 Entered on FLSD Docket 07/15/2019 Page 1 of 12



                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA
                                        WEST PALM BEACH DIVISION

                                               Case No. 19-MC-80024

   PUES FAMILY TRUST IRA, BY MICHAEL PUES,
   EXECUTOR OF THE ESTATE,

              Plaintiff,

   v.

   PARNAS HOLDINGS INC., and LEV PARNAS,
   INDIVIDUALLY,

              Defendants,
                                                           /

       JUDGMENT CREDITOR’S AMENDED MOTION1 TO COMMENCE PROCEEDING
           SUPPLEMENTARY TO EXECUTION AND IMPLEAD THIRD PARTIES

              Pursuant to Section 56.29, Florida Statutes, Plaintiff/Judgment Creditor PUES FAMILY

   TRUST IRA, BY MICHAEL PUES EXECUTOR OF THE ESTATE (“Pues”), moves for the entry

   of an order commencing a proceeding supplementary to execution, along with an order impleading

   GLOBAL ENERGY PRODUCERS, LLC (“GEP”), AMERICA FIRST ACTION, INC. (“AFA”),

   AARON INVESTMENTS I, LLC (“Aaron Investments”), LSDAMA, LLC (“LSDAMA”) the

   NATIONAL REPUBLICAN CONGRESSIONAL COMMITTEE (“NRCC”), PETE SESSIONS

   FOR CONGRESS (“Sessions Campaign”) in the action against judgment debtors PARNAS

   HOLDINGS, INC. (“PHI”) and LEV PARNAS (“Parnas”) seeking to gain property in the hands

   of Impleader Defendants which should be subject to execution, and as grounds therefore state:

              1.      On March 28, 2016 judgment creditor Pues obtained a final judgment against

   judgment debtors, PHI and Parnas, in the amount of $510,434.70, with interest to accrue at the



   1
       This Motion amended and replaces the Motion filed as D.E. 18.
Case 9:19-mc-80024-DMM Document 25 Entered on FLSD Docket 07/15/2019 Page 2 of 12
                                                                           CASE NO. 19-MC-80024
                                                                                      Page 2 of 12

   statutorily prescribed rate. (hereinafter the “Judgment”). The Judgment was entered by the United

   States District Court for the Eastern District of New York Case No. 11-CV-05537 and registered

   in this Court.

          2.        While certain post-judgment collection activities have occurred, the judgment

   remains wholly uncollected and unsatisfied.

          3.        Judgment creditor caused a writ of execution to be issued and the statutory

   judgment creditor’s affidavit in connection with commencing proceedings supplementary is

   attached as an exhibit to this motion.

          4.        It should be noted that prior to registering the Judgment in this Court, Pues

   domesticated the judgment in Palm Beach County (FL) state circuit court, Case No. 50-2018-CA-

   02109-XXXX-MB. That action was commenced on or about February 19, 2018.

          5.        The post-judgment discovery process in both the state and federal actions has led

   Pues to several transactions which would be considered transfers subject to attachment under

   Florida law, more specifically Fla. Stat. § 56.29. Furthermore, post-judgment discovery has led

   Pues to payments by Parnas and his entities GEP, and Aaron Investments which may violate

   relevant campaign finance laws. Pursuant to Fla. Stat. § 56.29, Pues seeks to undo these

   transactions because the payments made by Parnas (or Parnas’ behalf) should have been subject

   to attachment pursuant to the Florida Statutes.

          6.        Fla. Stat. § 56.29(6) states in relevant part:

          The court may order any property of the judgment debtor, not exempt from execution,
          or any property, debt, or other obligation due to the judgment debtor, in the hands of or
          under the control of any person subject to the Notice to Appear, to be levied upon and
          applied toward the satisfaction of the judgment debt. The court may enter any orders,
          judgments, or writs required to carry out the purpose of this section, including those
          orders necessary or proper to subject property or property rights of any judgment debtor
          to execution, and including entry of money judgments as provided in ss. 56.16-
          56.19 against any person to whom a Notice to Appear has been directed and over whom
Case 9:19-mc-80024-DMM Document 25 Entered on FLSD Docket 07/15/2019 Page 3 of 12
                                                                           CASE NO. 19-MC-80024
                                                                                      Page 3 of 12

          the court obtained personal jurisdiction irrespective of whether such person has retained
          the property, subject to applicable principles of equity, and in accordance with chapters
          76 and 77 and all applicable rules of civil procedure. Sections 56.16-56.20 apply to any
          order issued under this subsection. Fla. Stat. § 56.29(6)


   Furthermore, Florida law holds that the statute prescribing the procedure for impleading third-

   party defendants in supplementary post-judgment proceedings “‘should be given a liberal

   construction so as to afford the judgment creditor the most complete relief possible.’” Wieczoreck

   v. H & H Builders, Inc., 450 So.2d 867, 871 (Fla. 5th DCA 1984) (quoting Richard v. McNair,

   164 So. 836 (Fla. 1935)). “Supplementary proceedings are a creature of statute to aid the judgment

   creditor in discovering assets of debtor which might be appropriated in satisfying his judgment.”

   Conrad v. McMechen, 338 So.2d 1306 (Fla. 4th DCA 1976). “Statutes relating to proceedings

   supplementary to execution are intended to empower the court to follow through with enforcement

   of its judgment, so that there will be no necessity for an independent suit to reach property which

   legally should be applied to satisfaction of judgment.”        Florida Guaranteed Securities v.

   McCallister, 47 F.2d 762 (1931). Rule 69(a)(1), Federal Rules of Civil Procedure, provides that

   “[t]he procedure on execution – and in proceedings supplementary to and in aid of judgment or

   execution – must accord with the procedure of the state where the court is located . . . .” Fed. R.

   Civ. P. 69(a)(1). Florida law provides for proceedings supplementary:

             To initiate proceedings supplementary, section 56.29(1) requires that
             the judgment creditor have an unsatisfied judgment and file an
             affidavit averring that the judgment is valid and outstanding. When a
             judgment creditor holds an unsatisfied judgment and filed a motion
             and affidavit in compliance with section 56.29(1), the judgment
             creditor is entitled to these proceedings supplementary to execution.


   Upon a showing of the statutory prerequisites, the court has no discretion to deny the motion.

   Longo v. Associated Limousine Services, Inc., 236 So. 3d 1115, 1119 (Fla. 4th DCA 2018) (internal
Case 9:19-mc-80024-DMM Document 25 Entered on FLSD Docket 07/15/2019 Page 4 of 12
                                                                                      CASE NO. 19-MC-80024
                                                                                                 Page 4 of 12

   quotations and citations omitted). As of the writing of this motion, the entirety of the Judgment

   remains outstanding and unpaid, and as stated above, the statutory affidavit is attached. As such,

   Judgment Creditor is entitled to initiate this proceeding supplementary and examine the Judgment

   Debtors as a matter of right.

   Global Energy Producers, LLC, Aaron Investments, LSDAMA, and America First Action, Inc.

           7.        GEP is a limited liability company, in which public records indicate Parnas serves

   as “Executive.” Public records indicate that GEP was incorporated on April 11, 2018.2             On May

   17, 2018, GEP gave $325,000 to AFA which describes itself as “the primary super PAC dedicated

   to electing federal candidates who support the agenda of the Trump-Pence administration.” The

   address listed on the underlying report entry was 7670 La Cornich[e] Circle, Boca Raton, Florida,

   which is the residence for Parnas and the principal place of business for GEP. The available facts

   do not suggest that GEP conducted or conducts any business or had sufficient income from assets,

   investment earnings, business revenues, or bona fide capital investments to make the $325,000

   contribution to AFA at the time the contribution was made. In fact, the principle reason this

   Amended Motion is being filed, is that post judgment discovery had been conducted revealing the

   fact that the $325,000.00 contribution to AFA originated from a bank account in the name Aaron

   Investments held at Citibank N.A. A true and correct copy of the wire evidencing this transaction

   is attached as Exhibit 1. Aaron Investments and LSDAMA are limited liability companies that

   exist purely as an asset protection vehicle and the accounts in their names operate with the sole

   purpose to defraud the numerous creditors of Lev Parnas. Subpoenas served on numerous financial

   institutions in this action to Suntrust Bank, Citibank N.A., and JPM Morgan Chase Bank N.A.


   2
     Global Energy Producers LLC, OPENCORPORATES,
   https://opencorporates.com/companies/us_de/6840339 (last visited January 8, 2019). See also
   https://icis.corp.delaware.gov/Ecorp/EntitySearch/NameSearch.aspx.
Case 9:19-mc-80024-DMM Document 25 Entered on FLSD Docket 07/15/2019 Page 5 of 12
                                                                                         CASE NO. 19-MC-80024
                                                                                                    Page 5 of 12

   have revealed that LSDAMA and Aaron Investments are merely the alter ego of Lev Parnas. Large

   transfers of money between GEP, LSDAMA, and Aaron Investments show that these entities are

   purely a mere instrumentality of Lev Parnas.              A review of the bank statements of the various

   LSDAMA and Aaron Investment accounts show that they are purely the personal accounts of Lev

   Parnas (a litany of personal expenses or paid through accounts belonging to these entities, such as

   car payments, rent, childcare, etc.). As such, impleading LSDAMA and Aaron Investments is

   proper in this circumstance as mere alter egos of Lev Parnas. These facts, in addition to the facts

   listed above, indicate that Parnas and through the guise of GEP/Aaron Investments made an

   improper and illegal contribution to AFA as far as the Federal Election Campaign Finance Act 52

   U.S.C. § 301223. Furthermore, AFA which reported that the monies received came from GEP

   knew it misreported the accounts as it reported to the FEC that the donation was made by GEP,

   even though the money came from Lev Parnas’ “personal” account. More importantly as far as

   this litigation is concerned, the fact that the $325,000.00 contribution to AFA originated from

   Parnas (through his alter ego Aaron Investments), makes the transfer per se fraudulent. As such,

   this Court is well within its powers to implead GEP, AFA, LSDAMA, and Aaron Investments.

   National Republican Congressional Committee

            8.       According to the Complaint filed by Campaign Legal cited above and records of

   the FEC and NRCC, Lev Parnas contributed $500 to the NRCC during the 2018 election cycle.

   As Plaintiff’s judgment lien was duly entered and perfected according to Florida State law, this is

   money which ought to have been paid over to Pues in satisfaction of the Judgment and qualifies



   3
     It should be noted that the Campaign Legal Center has filed a complaint with the Federal Election Commission
   alleging violations of FECA. See https://campaignlegal.org/document/straw-donor-complaint-fec-global-energy-
   producers-llc (last visited January 8, 2019). It should also be noted that several of the allegations made in this
   Motion come from information obtained by the Campaign Legal Center and the records of the Federal Election
   Commission.
Case 9:19-mc-80024-DMM Document 25 Entered on FLSD Docket 07/15/2019 Page 6 of 12
                                                                              CASE NO. 19-MC-80024
                                                                                         Page 6 of 12

   as a fraudulent transfer under Florida law. As such, this Court should implead the NRCC for the

   turnover of this contribution.

   Sessions Campaign

           9.       According to the Complaint filed by Campaign Legal cited above and records of

   FEC, Lev Parnas contributed $2700 to the Sessions Campaign. Pete Sessions is a former

   congressman from Dallas Texas who lost his re-election bid on November 6, 2018. As Plaintiff’s

   judgment lien was duly entered and perfected according to Florida State law, this is money which

   ought to have been paid over to Pues in satisfaction of the Judgment. As such, this Court should

   implead the Sessions campaign for the turnover of this Contribution.

           10.      It should be noted that the United States Court of Appeals for the Fifth Circuit held

   in Janvy v. Democratic Senatorial Campaign Committee Inc., et. al. 712 F.3d 185 (N.D. Tex 2013)

   that contributions to a political action committee made to defraud creditors was a fraudulent

   transfer.     In Janvy, the Court upheld a decision denying summary judgment on behalf of the

   political action committee because it did not give reasonably equivalent value for the contributions

   (which were fraudulent transfers from Ponzi schemes). The Texas Fraudulent transfer law is nearly

   identical to that of Florida, which adopts the Uniform Fraudulent Transfers Act. As such, GEP,

   AFA, Sessions Campaign and NRCC should all be impleaded under this action.

           Fraudulent Transfer Law in Florida

                    11.    The above referenced transactions constitute fraudulent transfers under

   Florida law. Fla. Stat. 726.105 and 726.106 governs fraudulent conveyances and states in relevant

   part:
Case 9:19-mc-80024-DMM Document 25 Entered on FLSD Docket 07/15/2019 Page 7 of 12
                                                                             CASE NO. 19-MC-80024
                                                                                        Page 7 of 12

          (1) A transfer made or obligation incurred by a debtor is fraudulent as to a creditor, whether

   the creditor’s claim arose before or after the transfer was made or the obligation was incurred, if

   the debtor made the transfer or incurred the obligation:

          (a) With actual intent to hinder, delay, or defraud any creditor of the debtor; or

          (b) Without receiving a reasonably equivalent value in exchange for the transfer or

          obligation, and the debtor:

                  1. Was engaged or was about to engage in a business or a transaction for which the

                  remaining assets of the debtor were unreasonably small in relation to the business

                  or transaction; or

                  2. Intended to incur, or believed or reasonably should have believed that he or she

                  would incur, debts beyond his or her ability to pay as they became due.

          (2) In determining actual intent under paragraph (1)(a), consideration may be given, among

          other factors, to whether:

                  (a) The transfer or obligation was to an insider.

                  (b) The debtor retained possession or control of the property transferred after the

                  transfer.

                  (c) The transfer or obligation was disclosed or concealed.

                  (d) Before the transfer was made or obligation was incurred, the debtor had been

                  sued or threatened with suit.

                  (e) The transfer was of substantially all the debtor’s assets.

                  (f) The debtor absconded.

                  (g) The debtor removed or concealed assets.
Case 9:19-mc-80024-DMM Document 25 Entered on FLSD Docket 07/15/2019 Page 8 of 12
                                                                              CASE NO. 19-MC-80024
                                                                                         Page 8 of 12

                  (h) The value of the consideration received by the debtor was reasonably equivalent

                  to the value of the asset transferred or the amount of the obligation incurred.

                  (i) The debtor was insolvent or became insolvent shortly after the transfer was made

                  or the obligation was incurred.

                  (j) The transfer occurred shortly before or shortly after a substantial debt was

                  incurred.

                  (k) The debtor transferred the essential assets of the business to a lienor who

                  transferred the assets to an insider of the debtor.

   While it is fairly clear that Parnas made the contributions listed above with the intent to contribute

   money to political causes he supports past the allowable campaign limit through the sham

   companies GEP and Aaron Investments, he deliberately intended to defraud creditors such as Pues.

   He should have paid these monies directly to Pues in satisfaction of the substantial judgment

   rendered. That being said, even if actual intent is not determined by this Court. A case for

   constructive intent can be made based on the factors indicated in the statute. It is clear that Parnas

   was insolvent at the time of the transfer, or made insolvent shortly thereafter as a result of the

   transfer as contemplated by Fla. Stat. 726(a)(2)(i). Fla. Stat. 726.103, defines “insolvency” for the

   purposes of fraudulent transfer and states in relevant part:

          (1) A debtor is insolvent if the sum of the debtor's debts is greater than all of the debtor's
          assets at a fair valuation.
          (2) A debtor who is generally not paying his or her debts as they become due is presumed
          to be insolvent.

   The fact Parnas owes over $510,000 plus considerable post judgment interest to Pues and has not

   paid it would be prima facie evidence of insolvency. Furthermore, Parnas has had eviction

   proceedings against him and has failed to pay his debt to Pues and other well documented debts as
Case 9:19-mc-80024-DMM Document 25 Entered on FLSD Docket 07/15/2019 Page 9 of 12
                                                                             CASE NO. 19-MC-80024
                                                                                        Page 9 of 12

   they have become due. By virtue of making the contributions listed above during his insolvency

   he has made fraudulent conveyances pursuant to Fla. Stat. 726(a)(2)(i).

   Piercing the Corporate Veil

          12.     As part of the equitable relief sought in this motion Plaintiff requests that the Court

   “pierce the corporate veil” in furtherance of this 56.29 action. Florida courts require the plaintiff

   establish three elements to pierce a corporation’s veil. Specifically, piercing the corporate veil

   requires the plaintiff prove: (1) a lack of separateness between the corporation and its

   shareholder(s); (2) improper conduct in the use of the corporation by the shareholder(s); and (3)

   that the improper conduct was the proximate cause of the alleged loss. See Solomon v. Betras

   Plastics, Inc., 550 So. 2d 1182, 1184-85 (Fla. 5th DCA 1989). he first element requires evidence

   that the corporation was the alter ego or a mere instrumentality of its shareholder(s). Under the

   “alter ego” theory, the plaintiff must establish that “the shareholder dominated and controlled the

   corporation to such an extent that the corporation’s independent existence, was in fact non-existent

   and the shareholders were in fact alter egos of the corporation.” Gasparini v. Pordomingo, 972 So.

   2d 1053, 1055 (Fla. 3d DCA 2008) (citations omitted). Stated differently, individual liability under

   the alter ego theory is imposed where “the personal affairs of the shareholder become confused

   with the business affairs of the corporation.” Solomon, 550 So. 2d at 1184. Even if a plaintiff

   proves a lack of separateness between the corporation and its shareholder(s), Florida courts will

   not pierce the veil unless there is proof of improper conduct. Dania Jai-Alai Palace, Inc. v. Sykes,

   450 So. 2d 1114, 1117 (Fla. 1984). Therefore, the second element requires the plaintiff prove that

   the corporation was either organized or used to mislead or defraud creditors. Id. More specifically,

   Florida courts have noted improper conduct includes:
Case 9:19-mc-80024-DMM Document 25 Entered on FLSD Docket 07/15/2019 Page 10 of 12
                                                                              CASE NO. 19-MC-80024
                                                                                        Page 10 of 12

       •   Mere Device or Sham: The corporation was a mere device or sham to accomplish

           some ulterior purpose.

       •   Fraudulent or Illegal Purpose: The purpose of the corporation was to evade some statute

           or to accomplish some fraud or illegal purpose.

       •   Used for Fraudulent Purposes: The corporation was employed by the shareholders for

           fraudulent or misleading purposes (i.e., the corporation was used to commit fraud).

       •   Used to Frustrate Creditors: The corporation was organized or used to mislead creditors

           or to perpetrate a fraud upon them, or to evade existing personal liability.

    Steinhardt v. Banks, 511 So. 2d 336, 339 (Fla. 4th DCA 1987) (citations omitted). Parnas is

    evading creditor process by using limited liability companies in order to make himself “judgment

    proof,” despite the fact significant assets pass through the bank accounts of these entities. Aaron

    Investments and LSDAMA have no other purpose other than to act as a shield from Parnas’

    creditors such as Plaintiff (numerous duly subpoenaed bank records from JP Morgan Chase Bank,

    N.A., Suntrust Bank, and Citibank N.A. evidence these facts, and will be produced in support of

    this supplemental action). Aaron Investments and LSDAMA do not have any separateness from

    LEV PARNAS as it clear by the transactions it conducts (as evidenced by the previously

    mentioned bank records) that these accounts primarily are the personal accounts of LEV PARNAS.

    He uses them to conduct consumer and familial business such as grocery shopping, car payments,

    childcare, and personal expenditures.     Aaron Investments and LSDAMA do not conduct any

    legitimate business, and it is clear that from Exhibit 1 that Aaron Investments was used as a vehicle

    to violate campaign finance laws by its illegal and fraudulent transfer of the $325,000.00 to AFA,

    in the guise of a GEP donation. These facts satisfy the elements necessary under Florida for

    piercing the corporate veil.
Case 9:19-mc-80024-DMM Document 25 Entered on FLSD Docket 07/15/2019 Page 11 of 12
                                                                                         CASE NO. 19-MC-80024
                                                                                                   Page 11 of 12

            13.      In addition to unwinding the above-referenced fraudulent transfers cited above, it

    is also imperative that Parnas be brought to court and testify as to his assets and the transactions

    listed above under oath, as he’s simply ignored subpoenas and interrogatories in aid of execution4.

    Fla. Stat. 56.30 makes it compulsory that the Judgment Debtor appears at a time and place specified

    by Court for his examination. In the state court action in which a subpoena for Parnas’ deposition

    in aid was served in July 2018, he has refused to provided documents or appear for deposition.

    Fla. Stat. 56.30 states “Testimony [of the debtor] shall be under oath, shall be comprehensive, and

    cover all matters and things pertaining to the business and financial interests of the judgment debtor

    which may tend to show what property the judgment debtor has and its location. Any testimony

    tending directly or indirectly to aid in satisfying the execution is admissible.”

            14.      Judgment creditor has incurred and is obligated to pay undersigned counsel a

    reasonable attorney’s fee for which the judgment debtor is liable in accordance with sections

    56.29(8).

            WHEREFORE, judgment creditor, Pues respectfully requests that the court:

            a.       Implead Impleader Defendants GEP, AFA, Aaron Investments, LSDAMA, NRCC,

                     and Sessions Campaign to a proceeding supplementary to execution;

            b.       Direct the Impleader Defendant Parnas to appear before the court and be examined

                     concerning the alleged transaction and as to his assets under oath as contemplated

                     by Fla. Stat. 56.30;




    4
     Interrogatories in Aid of Execution were issued to Defendants on May 14, 2019, and as of the filing of this motion
    Defendants and its counsel have not produced responses to these interrogatories.
Case 9:19-mc-80024-DMM Document 25 Entered on FLSD Docket 07/15/2019 Page 12 of 12
                                                                             CASE NO. 19-MC-80024
                                                                                       Page 12 of 12

           c.      Take steps to avoid Parnas from using any other alter ego accounts or otherwise

                   further attempting to defraud creditors during the pendency of this supplemental

                   action;

           d.      Afford the judgment creditor such other and further relief as the court deems just

                   and proper.



    Dated: July 15, 2019                                 ANDRE LAW FIRM P.A.
                                                         Counsel for judgment creditor
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                                                         By:            /s/ Tony Andre
                                                                 Tony Andre, Esq.
                                                                 Florida Bar No. 40587

                                    CERTIFICATE OF SERVICE

            I certify that on July 15, 2019 I filed the foregoing document with the Clerk of the Court
    using CM/ECF. I also certify that the foregoing document is being served this day on all counsel
    of record or pro se parties as identified below in the manner delineated, either via transmission of
    a Notice of Electronic Filing generated by CM/ECF or in some other authorized manner for those
    counsel or parties who are not authorized to receive the Notice of Electronic Filing electronically.

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                                                         /s/ Tony Andre
                                                  Tony Andre, Esq.
